WILLIAM F. COCHRAN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Cochran v. CommissionerDocket No. 65537.United States Board of Tax Appeals30 B.T.A. 1115; 1934 BTA LEXIS 1221; June 29, 1934, Promulgated *1221  1.  The World League Against Alcoholism held not to have been organized and operated exclusively for educational purposes and a contribution made thereto is not deductible under section 23 of of the Revenue Act of 1928.  2.  Certain other contributions held not deductible for lack of evidence.  Emory H. Niles, Esq., and Henry W. Schultheis, Esq., for the petitioner.  George D. Brabson, Esq., for the respondent.  TRAMMELL *1115  This proceeding is for the redetermination of a deficiency in income tax of $6,458.50 for 1929.  The first matter in controversy is the respondent's determination that a contribution made by the petitioner to the World League Against Alcoholism did not constitute an allowable deduction in determining taxable net income.  In an amendment to the petition the petitioner asks, in the event it is determined that the contribution in controversy did not constitute an allowable deduction, that he be allowed as deductions certain other contributions made during the year but not claimed in his return because of the 15 percent limitation.  FINDINGS OF FACT.  The petitioner is a resident of Baltimore, Maryland.  During*1222  1929 he contributed the amount of $33,200 to the World League Against Alcoholism.  In determining the deficiency here involved the respondent refused to allow any portion of the amount as a deduction from gross income on the ground that the league "is used to spread propaganda against alcoholism and is not an educational institution as set forth in section 23 of the Revenue Act of 1928." The World League Against Alcoholism, hereinafter referred to as the League, was organized at Washington, D.C., on June 7, 1919.  The conference at which it was organized was held in response to a call issued jointly by the Canadian Temperance Alliance and the Anti-Saloon League of America.  Eleven countries were represented at the conference and the representative from each of the countries was the official agent of a national temperance organization.  The formation of the League was the first united effort on the part of the organizations of the various countries toward cooperation.  The various organizations had different ideas about the alcohol problem and about the method of dealing with it, but they were all agreed that there should be enlightenment about the problem.  *1116  The idea*1223  underlying the formation of the League was that there should be created an agency which would be responsible to the organizations creating it and which would do research work with respect to and gather information of all types and kinds about the alcohol problem and would furnish to the member organizations and the public at large all the information which it was able to obtain.  The constitution of the League contained the following respecting its object and membership: ARTICLE II.  Object The object of this League is to attain, by the means of education and legislation, the total suppression throughout the world of alcoholism, which is the poisoning of body, germ-plasm, mind, conduct and society, produced by the consumption of alcoholic beverages.  This League pledges itself to avoid affiliation with any political party as such, and to maintain an attitude of strict neutrality on all questions of public policy, not directly and immediately concerned with the traffic in alcoholic beverages.  ARTICLE III.  Membership The membership of this League is open to organizations which are in harmony with the objects, which are national in the scope of their operation and which, in*1224  their international activities, shall work through this League or in cooperation with this League.  In 1932 or 1933 an amendment was made to the constitution of the League by which the word "legislation" was eliminated from Article II as a means by which the League was to attain its object.  The reason for the change was that the Bureau of Internal Revenue was holding that an object of the League was legislation, since that word appeared in its constitution.  The membership of the League is composed of organizations existing in 33 different countries, including practically all of the larger countries.  These organizations differ very widely in their policy of dealing with the alcohol problem.  Most of the organizations existing in the United States are for prohibition.  Of the organizations in Great Britain, none advocate prohibition.  One is for local option and another is definitely opposed to prohibition and to local option as well.  The principal organization in France has never favored prohibition nor local option, and its leaders do not feel that wine is to be included in the alcohol problem, as they feel that it is helpful factor rather than a harmful one in the question*1225  of alcoholism.  A Japanese organization, while not advocating prohibition as known in the United States, has advocated the prevention of the sale of intoxicating liquors to those under 21 years of age, and since legislation to that effect was obtained, has devoted its efforts to getting the age limit raised to 25 years.  Of the organizations in Germany which are members of the League, one is favorable to prohibition, *1117  another is definitely against the idea of prohibition, and a third has advocated the local option policy.  The League functions very much as an information bureau.  One of the important features of its work is to collect statistical and historical data on the alcohol problem.  The material collected is distributed among member organizations, the daily press, religious journals, and temperance publications.  The League has published and circulated throughout the world in large quantities and in different languages, periodicals, books, pamphlets, posters, and tracts.  Many of its publications had to do with prohibition and some were in support of it.  The League distributed among its members both pro-prohibition and antiprohibition literature and also publications*1226  by brewers and distillers.  The League also periodically placed vast quantities of printed matter in public libraries and in the libraries of colleges and universities throughout this and other countries.  Most of the literature circulated by the League and practically all of it that goes into any report or that concerns the activity of the League is edited in the offices of the League and not by the member organizations.  The League at various times has made recommendations and suggestions with respect to courses in alcoholism being offered in colleges and universities.  Members of the staff of the League as well as others also are sent out on speech-making trips in behalf of the League.  On these trips some of the speakers express themselves as being opposed to the drink evil and advocating prohibition, while others content themselves with giving an impartial statement of the facts.  The League has a legal department whose work consists of collecting information about legislation, laws, policies, and court decisions from every country in the world relating to the alcohol problem and furnishing that information to the public and to the member organizations.  The League does not*1227  have a very large staff.  However, from time to time some members of the staff are "loaned" to the member organizations and other groups for speech-making purposes under their auspices.  This usually occurs at times when such members of the staff would otherwise be idle.  When members of the League's staff go out on speech-making trips for other organizations or groups such organizations or groups pay their expenses and pay the League the amount of the regular salary of the members for the time they are away.  While at least some of the League's member organizations have a legislative program and indulge in political activity, the League as an organization does not have and has never had any legislative program nor has it indulged in political activity nor supported candidates considered by it friendly toward its views.  It maintains no *1118  legislative agents.  Its representatives appear before legislative bodies only when summoned or requested by such bodies.  The League is not opposed to the return of the open saloon, nor is it opposed to the drinking of all liquors.  From the beginning its general activities have been uniformly against alcoholism as defined in the League's*1228  constitution and it has stood for the suppression of alcoholism.  It, however, does not promote methods by which such result may be attained.  The League is supported by voluntary contributions, chiefly from individuals.  It also receives contributions from its member organizations.  No part of the net earnings of the League inures to the benefit of any private shareholders or individual.  In addition to the contributions deducted by the petitioner in his return, he made other contributions during 1929 as follows, which were not allowed by the respondent in the determination of the deficiency: Church League for Industrial Democracy$1,600.00Committee on Militarism in Education100.00Rev. A. L. Byron Curtiss25.00Committee on Educational Publicity100.00Fellowship of Reconciliation100.00Kagawa, c/3 Mr. Harry E. Edmonds100.00League for Industrial Democracy100.00Christ Church, Baltimore2,040.00Baltimore Federation of Churches12.50American National Red Cross, Annapolis, Md10.00Federal Council of Churches100.00Fire Relief Fund, Baltimore, for charity25.00House of the Good Shepherd, Gardiner, Maine100.00William Draper Lewis, for St. Mary's Church100.00William Draper Lewis, for Needy Student Fund of St. Mary's Church100.00Maryland League for Crippled Children50.00Morgan College, Crusade100.00National Association for Advancement of Colored People100.00E. C. Miller, Treasurer, 'Why Go to Church' Posters, Metropolitan Tower50.00West Baltimore General Hospital100.00World Alliance for International Friendship in the Churches250.00Yale Alumni Association of Maryland60.00*1229  The reason the foregoing contributions were not taken as deductions by the petitioner in his return was that other contributions reported by him more than met the 15 percent limitation provided by the statute.  OPINION.  TRAMMELL: The petitioner contends that the World League Against Alcoholism is an educational organization and that the contribution made thereto during the taxable year should be allowed as *1119  a deduction.  The respondent denies this contention and asks that his action be sustained.  Section 23 of the Revenue Act of 1928 provides as follows: In computing net income there shall be allowed as deductions: * * * (n) Charitable and other contributions. - In the case of an individual, contributions or gifts made within the taxable year to or for the use of: * * * (2) any corporation, or trust, or community chest, fund, or foundation, organized and operated exclusively for religious, charitable, scientific, literary, or educational purposes, or for the prevention of cruelty to children or animals, no part of the net earnings of which inures to the benefit of any private stockholder or individual.  * * * The only controversy between the*1230  parties is whether the League was organized and operated exclusively for educational purposes within the meaning of the statute.  In , we reviewed at length the decisions relating to the question of what constituted an organization organized and operated exclusively for educational purposes.  We there held that where an organization was organized and operated for the purpose of cultivating and influencing public opinion for the purpose of bringing about legislation on a controversial matter, such organization was not organized and operated exclusively for educational purposes.  An object of the World League Against Alcoholism, as stated in its constitution prior to its amendment in 1932 or 1933, which was subsequent to the year in controversy, was to obtain legislation on a highly controversial subject, alcoholism.  While the constitution indicates that the League was pledged to a neutral attitude on questions of public policy generally, an exception was to be made in the case of the traffic in alcoholic beverages.  The League is simply the tool or creature of its member organizations, who, so far as we are able to determine, are*1231  allied on one side or another of the controversial alcohol question or problem.  Some, if not all, of these are actively engaged in the presentation or defense of the side of the question which they have espoused and are actively promoting or actually resisting efforts at legislation in conformity with their views.  According to the record it is the business of the League to furnish them and the general public the information it has available on all phases of the problem.  The petitioner therefore is engaged in and operated for the distribution and dissemination of data which are highly controversial in their nature.  The petitioner appears to be nothing more than a clearing house or a distributor of matter and material prepared and disseminated for controversial purposes.  It *1120  may be likened to an accessory or an agent engaged in the furtherance of the cause of the principal.  In discussing the term "education" the court, in , said: Congress did not include a definition of the term "education" as used in the act.  In the absence of specific definition, the words are to be given their usual and accepted meaning. *1232 . "Education" has been defined by the encyclopedia and dictionaries as "imparting or acquisition of knowledge; mental and moral training; cultivation of the mind, feelings and manners." The definition given by the Funk &amp; Wagnalls' New Standard Dictionary, vol. 1, may be referred to: "Education as understood today, connotes all those processes cultivated by a given society as means for the realization in the individual of the ideals of the community as a whole.  It has for its aim the development of the powers of a man (1) by exercising each along its particular line, (2) by properly coordinating and subordinating them (3) by taking advantage of the law of habit, and (4) by appealing to human interest and enthusiasm.  It includes not only the narrow conception of instruction, to which it was formerly limited, but embraces all forms of human experience, owing to the recognition of the fact that every stimulus with its corresponding reaction has a definite effect on character.  It may be either mainly esthetic, ethical, intellectual, physical or technical, but to be most satisfactory it must involve and develop all*1233  these sides of human capacity." Giving due consideration to the objects, functions, and activities of the League in connection with the foregoing, we are unable to find that the League is or was during 1929 an organization organized and operated exclusively for educational purposes.  The action of the respondent in disallowing as a deduction the amount of the contribution made thereto by the petitioner is sustained.  The respondent concedes that all of the other contributions set out in our findings of fact, which were not taken by the petitioner in his return nor allowed by the respondent in his determination of the deficiency, constitute allowable deductions except the following: Rev. A. L. Byron Curtiss, $25; E. C. Miller, Treasurer, 'Why Go to Church' Posters, Metropolitan Tower, New York City, $50; Yale Alumni Association of Maryland, $60; League for Industrial Democracy, $100; Church League for Industrial Democracy, $1,600.  In , reversing , the court held that the League for Industrial Democracy was an educational corporation in 1922 and 1923 and that contributions made thereto constituted allowable*1234  deductions in determining the net income of an individual for those years.  We have no evidence before us, however, that for the taxable year 1929 this corporation was operated exclusively for educational purposes.  The Commissioner has determined that the contribution to it was not allowable and there is no evidence to overcome the presumption of correctness of that determination.  We, therefore, affirm the Commissioner's determination.  *1121  As to the remainder of the foregoing items, the petitioner submitted no evidence as to their deductibility except that as to some the respondent had not disallowed similar deductions in other years.  The respondent's action with respect to the allowance or disallowance of a similar deduction in another year is not a sufficient basis upon which to hold that a deduction for the year in controversy is allowable.  For lack of evidence, all of the foregoing contributions objected to by the respondent are held to be not allowable.  Reviewed by the Board.  Judgment will be entered under Rule 50.MURDOCK, MCMAHON, and GOODRICH concur in the result.  